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                                    10                           UNITED STATES DISTRICT COURT
                                    11                               DISTRICT OF ARIZONA
                                    12
HYDE & SWIGART




                                              Eugene DeMarco and Carmella                        Case Number: ________________
                                    13        DeMarco
                 Phoenix, Arizona




                                    14                                                           Complaint For Damages
                                                                   Plaintiffs,
                                    15        v.                                                 Jury Trial Demanded
                                    16
                                              SRA Associates, Inc.
                                    17
                                    18                             Defendant.

                                    19
                                    20                                            INTRODUCTION
                                    21   1.        The United States Congress has found abundant evidence of the use of
                                    22             abusive, deceptive, and unfair debt collection practices by many debt
                                    23             collectors, and has determined that abusive debt collection practices
                                    24             contribute to the number of personal bankruptcies, to marital instability, to the
                                    25             loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                                    26             Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                                    27             “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                                    28             to insure that those debt collectors who refrain from using abusive debt

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                                     1         collection practices are not competitively disadvantaged, and to promote
                                     2         consistent State action to protect consumers against debt collection abuses.
                                     3   2.    Eugene DeMarco and Carmella DeMarco, (Plaintiffs), through Plaintiffs'
                                     4         attorneys, bring this action to challenge the actions of SRA Associates, Inc.,
                                     5         (“Defendant”), with regard to attempts by Defendant to unlawfully and
                                     6         abusively collect a debt allegedly owed by Plaintiffs, and this conduct caused
                                     7         Plaintiffs damage.
                                     8   3.    Plaintiffs make these allegations on information and belief, with the exception
                                     9         of those allegations that pertain to a plaintiff, or to a plaintiff's counsel, which
                                    10         Plaintiffs allege on personal knowledge.
                                    11   4.    While many violations are described below with specificity, this Complaint
                                    12         alleges violations of the statutes cited in their entirety.
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                                    13   5.    Unless otherwise stated, all the conduct engaged in by Defendant took place
                 Phoenix, Arizona




                                    14         in Arizona.
                                    15   6.    Any violations by Defendant were knowing, willful, and intentional, and
                                    16         Defendant did not maintain procedures reasonably adapted to avoid any such
                                    17         violation.
                                    18                                     JURISDICTION AND VENUE
                                    19   7.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                    20         1692(k).
                                    21   8.    This action arises out of Defendant's violations of the Fair Debt Collection
                                    22         Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”).
                                    23   9.    Because Defendant does business within the State of Arizona, personal
                                    24         jurisdiction is established.
                                    25   10.   Venue is proper pursuant to 28 U.S.C. § 1391.
                                    26   11.   At all times relevant, Defendant conducted business within the State of
                                    27         Arizona.
                                    28   //

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                                     1                                                 PARTIES
                                     2   12.   Plaintiffs are natural persons who reside in the City of Paradise Valley, State
                                     3         of Arizona.
                                     4   13.   Defendant is located in the City of Hi-Nella, in the State of New Jersey.
                                     5   14.   Plaintiffs are obligated or allegedly obligated to pay a debt, and are
                                     6         “consumers” as that term is defined by 15 U.S.C. § 1692a(3).
                                     7   15.   Defendant is a person who uses an instrumentality of interstate commerce or
                                     8         the mails in a business the principal purpose of which is the collection of
                                     9         debts, or who regularly collects or attempts to collect, directly or indirectly,
                                    10         debts owed or due or asserted to be owed or due another and is therefore a
                                    11         debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
                                    12                                       FACTUAL ALLEGATIONS
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                                    13   16.   Sometime before April 2, 2010, Plaintiffs are alleged to have incurred certain
                 Phoenix, Arizona




                                    14         financial obligations.
                                    15   17.   These financial obligations were primarily for personal, family or household
                                    16         purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
                                    17         §1692a(5).
                                    18   18.   Sometime thereafter, but before April 2, 2010, Plaintiffs allegedly fell behind
                                    19         in the payments allegedly owed on the alleged debt. Plaintiffs currently take
                                    20         no position as to the validity of this alleged debt.
                                    21   19.   Subsequently, but before April 2, 2010, the alleged debt was assigned, placed,
                                    22         or otherwise transferred, to Defendant for collection.
                                    23   20.   On or about April 2, 2010, Defendant mailed a dunning letter to Plaintiffs. A
                                    24         few days later, Plaintiffs received that letter.
                                    25   21.   This communication to Plaintiffs was a “communication” as that term is
                                    26         defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
                                    27         with 15 U.S.C. § 1692g(a).
                                    28

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                                     1   22.   Subsequently, but within the thirty-day period described in 15 U.S.C. §
                                     2         1692(a), Plaintiffs notified Defendant in writing, that this alleged debt, or
                                     3         some portion of it, was disputed.
                                     4   23.   On or about June 1, 2010, Plaintiffs sent to Defendant a letter in which
                                     5         Plaintiffs advised Defendant that Plaintiffs refused to pay the alleged debt in a
                                     6         manner consistent with the requirements pursuant to 15 U.S.C. § 1692c(c).
                                     7   24.   On or about early June, 2010, Defendant’s agents called Plaintiff on multiple
                                     8         occasions, and threatened legal action in an attempt to collect the alleged
                                     9         debt.
                                    10   25.   This statement was a false, deceptive, or misleading representation or means
                                    11         in connection with the collection of the alleged debt. As such, this action by
                                    12         Defendant violated 15 U.S.C. §§ 1692e and 1692e(10).
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                                    13   26.   Through this conduct, Defendant made a false representation concerning the
                 Phoenix, Arizona




                                    14         character, amount, or legal status of a debt. Consequently, Defendant violated
                                    15         15 U.S.C. § 1692e(2)(A).
                                    16   27.   Through this conduct, Defendant threatened to take action that cannot legally
                                    17         be taken or that is not intended to be taken. Consequently, Defendant violated
                                    18         15 U.S.C. § 1692e(5).
                                    19   28.   Through this conduct, Defendant engaged in conduct the natural consequence
                                    20         of which was to harass, oppress, or abuse a person in connection with the
                                    21         collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
                                    22   29.   Through this conduct, Defendant used an unfair or unconscionable means to
                                    23         collect or attempt to collect any debt. Consequently, Defendant violated 15
                                    24         U.S.C. § 1692f.
                                    25   30.   After receiving Plaintiff’s refusal to pay letter on June 7, 2010, Defendant
                                    26         continued to call Plaintiff several more times in an attempt to collect the
                                    27         alleged debt, including but not limited to: on or about June 16, 2010, June 17,
                                    28         2010, and August 9, 2010.

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                                     1   31.   After Defendant was notified in writing that Plaintiff refused to pay the
                                     2         alleged debt, Defendant continued its communications with respect to such
                                     3         debt, for a purpose other than enumerated in 15 U.S.C. § 1692c(c).
                                     4         Consequently, Defendant violated 15 U.S.C. § 1692c(c).
                                     5   32.   Through this conduct, Defendant engaged in conduct the natural consequence
                                     6         of which was to harass, oppress, or abuse a person in connection with the
                                     7         collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
                                     8   33.   Due to Defendant’s actions, Plaintiffs’ have suffered actual damages in the
                                     9         form of mental anguish which manifested in several symptoms including but
                                    10         not limited to: nervousness, embarrassment, humiliation, and fear of
                                    11         answering the telephone all impacting their marriage and personal
                                    12         relationships.
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                                    13                                          CAUSES OF ACTION
                 Phoenix, Arizona




                                    14                                                 COUNT I
                                    15                     FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                                    16                                      15 U.S.C. §§ 1692 ET SEQ.
                                    17   34.   Plaintiffs repeat, re-allege, and incorporate by reference, all other paragraphs.
                                    18   35.   The foregoing acts and omissions constitute numerous and multiple violations
                                    19         of the FDCPA, including but not limited to each and every one of the above-
                                    20         cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
                                    21   36.   As a result of each and every violation of the FDCPA, Plaintiffs are entitled to
                                    22         any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
                                    23         an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
                                    24         reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                                    25         Defendant.
                                    26   //
                                    27   //
                                    28   //

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                                     1                                         PRAYER FOR RELIEF
                                     2   WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
                                     3   Plaintiff be awarded damages from Defendant, as follows:
                                     4         •      An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
                                     5         •      An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
                                     6                1692k(a)(2)(A);
                                     7         •      An award of costs of litigation and reasonable attorney’s fees, pursuant
                                     8                to 15 U.S.C. § 1692k(a)(3).
                                     9   37.   Pursuant to the seventh amendment to the Constitution of the United States of
                                    10         America, Plaintiffs are entitled to, and demand, a trial by jury.
                                    11
                                    12   Respectfully submitted,
HYDE & SWIGART




                                                                                                  Hyde & Swigart
                                    13
                 Phoenix, Arizona




                                    14
                                         Date: December 7, 2010                         By: /s/ David J. McGlothlin
                                    15
                                                                                             David J. McGlothlin
                                    16                                                       Attorneys for Plaintiffs
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